Case: 5:19-cr-00329-BYP Doc #: 1-1 Filed: 04/24/19 1 o0f 11. PagelD #: 2

AFFIDAVIT IN SUPPORT OF
THE ARREST OF KENNETH MCKINLEY III

I, Benjamin Shaw, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

1. I am a Special Agent with the U.S. Department of Homeland Security, Homeland
Security Investigations (HSI), having served in that capacity with Homeland Security
Investigations, and its predecessor, Immigration and Customs Enforcement (ICE), Department of
Homeland Security, for approximately eight (8) years. Prior to that, I was a Special Agent and ©
Uniformed Officer for the United States Secret Service for approximately eight (8) years. I am
currently assigned to the Office of the Assistant Special Agent in Charge, Cleveland, Ohio. I
have received training, and have conducted and/or assisted in investigations involving the
violation of laws pertaining to commercial fraud, immigration, cultural property, intellectual
property rights (IPR), child exploitation, money laundering, and narcotics. I am currently
responsible for the investigation of violations of federal laws within the purview of ICE/HSI.
This includes violations of law regarding importation of unregistered firearms into the United
States, contrary to law in violation of 18 United States Code, Section 545.

2. This affidavit is intended to show only that there is sufficient probable cause that
Kenneth MCKINLEY III, currently residing at 1854 Honeytown Road, Wooster, OH 44691, has
violated Title 18, United States Code, Section 545, importation of merchandise into the
United States contrary to law, Title 18, United States Code, Section 922(g), prohibited person
in possession of ammunition, and Title 18, United States Code, Section 922(0), unlawful transfer

or possession of a machinegun (collectively, the “Specified Federal Offenses).
Case: 5:19-cr-00329-BYP Doc #: 1-1 Filed: 04/24/19 2 of 11. PagelD #: 3

3. Because this affidavit is being submitted for the limited purpose of establishing
probable cause, I have not included every detail of every aspect of the investigation. Rather, I
have set forth only those facts that I believe are necessary to establish probable cause to believe

that Kenneth MCKLINLEY III committed the Specified Federal Offenses.

PROBABLE CAUSE

4. HSI recently became aware of an influx of machine gun parts shipments designed
to convert semi-automatic Glock pistols into fully-automatic machineguns. These shipments are
being smuggled in international mail from China and have been falsely manifested as “Multitool
Switch” and “Screwdriver”. Examination of several parcels has yielded positive results for the
machine parts. Law Enforcement and open-source information reveals that these parts are readily
purchasable on sites such as Wish and Ebay. These machine parts, even in the absence of a
Glock pistol, are considered prohibited items under the National Firearms Act (NFA), 26 USC
5845(a) and (b), defined, in pertinent part, as “any part designed and intended to solely and
exclusively, or combination of parts designed and intended, for use in converting a weapon into a
machinegun."

5. On March 2, 2019, CBP intercepted a package containing two (2) metal parts with
the Glock logo in parcel # LW115404905CN addressed to “Ken MCKINLEY” at 1854 N.
Honeytown Rd., Wooster, OH 44691. Your affiant is aware that Glock is a firearms
manufacturer headquartered in Austria. Glock has a unique trademark consisting of an

uppercase “G” surrounding the letters “lock”. The package was an international shipment
Case: 5:19-cr-00329-BYP Doc #: 1-1 Filed: 04/24/19 3 of 11. PagelID #: 4

from Wanglianhui at Baihe street Tiangong lishulyuan area, Nanyang, Henan 411300, China
and manifested as “screwdriver”.

6. On March 4, 2019, this affiant was contacted by the Homeland Security
Investigations (HSI) Los Angeles International Mail Facility of the aforementioned seizure. This
affiant informed CBPO Pimentel at the International Mail Facility that HSI Cleveland would
accept the parcel for an attempted controlled delivery. In preparation for the controlled delivery,
the parcel was equipped with a GPS tracker by HSI Cleveland. |

7. On March 5, 2019, images of the parts were sent to Glock for authentication.
On March 6, 2019, Amanda Kimmel, a Paralegal for Glock, stated that Glock does not
manufacture such parts. Ms. Kimmel also stated that Glock is aware of the selector switches
offered for sale on sites such as Ebay and they are working with Ebay to remove those ads as
soon as the items are offered for sale. Ms. Kimmel also stated that Glock only produces one
model capable of firing in full automatic with a selector switch that is built as part of a pistol
slide, and not as an additional part. She also stated that the weapon is only sold directly to law
enforcement agencies or branches of the U.S. Military and is a highly restricted item. The items
are aftermarket devices and are not authorized or endorsed by Glock. In addition, the Glock logo
nor the Glock name is authorized for use on aftermarket parts.

8. Also on March 6, 2019, a search conducted by the USPIS revealed that a
similar package (parcel # LW099275856CN) bearing the same shipper and consignee as the
above mentioned package, was delivered to the same address on February 19, 2019. The
phone number (***-***-8223) that was listed as the addressee’s phone number on USPS
parcel LW11540490SCN was also listed as the addressee’s phone number on USPS parcel

LW099275856CN, which was delivered to 1854 N Honeytown Rd, Wooster, OH 44691 on
Case: 5:19-cr-00329-BYP Doc #: 1-1 Filed: 04/24/19 4o0f11. PagelD#: 5

February 19, 2019. Based on USPS records, Postal Inspectors identified that the phone
number ***-***-8223 subscribed to receive Short Message Alerts (SMS) text alerts from
the USPS regarding the delivery status of the USPS parcels LW115404905CN and
LW099275856CN. According to CLEAR, an electronic database that has proven reliable in
previous investigations in determining the legitimacy of name, address, and phone number
information, phone number ***-***-8223 is associated with “K McKinley” in Wooster, OH
as of March 2019.

9. On March 8, 2019, this affiant received the aforementioned parcel from the
International Mail Facility and placed it in the HSI Cleveland evidence room.

10. Upon receipt of the parcel, HSI SA Donald Mania, National Program Manager,
inspected the items. SA Donald Mania previously served as the Supervisory Special Agent,
Section Chief and Acting Unit Chief, for DHS, ICE, Office of firearms and Tactical Programs
(OFTP), Armory Operations Branch (AOB), where he over saw and supervised a cadre of
Equipment Specialists Ordnance responsible for the acquisition, development, inspection,
maintenance, testing and disposition of all firearms, including thousands of machine guns as
defined by Federal law, used and maintained by approximately 65,000 law enforcement officers
and agents within ICE, DHS, Customs and Border Protection and DHS, Federal Protective
Service. In the course of his official duties, he has, on numerous occasions, inspected, tested
and/or fired Glock brand handguns modified with the same or similar devices(s) intended for
delivery to 1854 Honeytown Rd., Wooster, OH 44691. Based on his training and experience, the

purpose of the device is to interrupt or alter the normal cycle of operation of a Glock brand semi-
Case: 5:19-cr-00329-BYP Doc #: 1-1 Filed: 04/24/19 5o0f11. PagelD #: 6

automatic handgun, with the intent of having a Glock handgun fire more than one round with a
single pull of the trigger.

11. | HSI Cleveland conducted records checks on the 1854 N Honeytown Rd.,
Wooster, OH 44691, which indicated that Kenneth MCKINLEY III resides at this address. A
criminal history records check revealed that MCKINLEY III has felony convictions for burglary
(F2), theft (F5) and possession of drugs (F5) as well as misdemeanor convictions for domestic
violence (M1), possession of drugs (M1), improper handling of firearms (F4) and possession of
drug paraphernalia (M4). MCKINLEY III successfully petitioned to be released from disability
following his felony convictions, however he was later convicted of domestic violence on
October 27, 2017. MCKINLEY III also has an active warrant out of North Myrtle Beach, SC for
synthetic narcotics. He is therefore again prohibited from possessing a firearm pursuant to Title
18, United States Code, Section 922(g)(9). Additionally, MCKINLEY III is currently on
probation for his drug conviction on October 31, 2018, and under the “Rules of Probation” he is
forbidden to purchase, own, possess, use or have under his control any deadly weapon, firearm,
ammunition or dangerous ordnance. MCKINLEY III signed a form acknowledging the rules of
probation.

12. Arecord check of the Ohio Law Enforcement Gateway (OHLEG) for Kenneth
MCKINLEY III listed the 1854 Honeytown Rd., Wooster, OH 44691 as his residential address
on his Ohio Driver’s license.

13. On March 12, 2019, HSI conducted a controlled delivery of the Glock Auto
Switches and executed a search warrant at 1854 Honeytown Rd, Wooster, OH 44691.
MCKINLEY III took the parcel containing the Auto Switches from his mail box. He opened the

package, fled the property in his vehicle, and hid the Glock Auto Switches. MCKINLEY III was
Case: 5:19-cr-00329-BYP Doc #: 1-1 Filed: 04/24/19 6 of 11. PagelD #: 7

located and then arrested by Wayne County Probation. When he was arrested, MCKINLEY III
had an iPhone 8 Plus in his possession. Wayne County Probation Officer Courtney Curtis
confirmed that she has contacted MCKINLEY III at ***-***-8223 and he later confirmed to
her that ***-***-8223 is the number associated with the iPhone 8 Plus in his possession.

14. Asaresult of the search warrant executed at 1854 Honeytown Rd, Wooster, OH
44691, HSI seized fifty (50) rounds of .22 caliber Winchester ammunition, nineteen (19) .40
caliber spent casings, ten (10) .22 caliber spent casings, Trijicon ACOG scope, UTG laser sight,
Firefield M4 carbine quad rail, Blackhawk holster package for a Springfield XDS and a gun
cleaning kit.

15. Additionally, as a result of a probable cause search of MCKINLEY III’s
Chevrolet Malibu bearing Ohio license plate # HLW20177, HSI seized a scalpel, brown
packaging, packing foam and mail. The mail matched the mail that was in the mail box when
USPIS delivered the package containing the Glock Auto Switches and the packaging appears to
have been torn/cut from the package that contained the Glock Auto Switches.

16. Later on March 12, 2019, Wayne County Probation Officer Courtney Curtis
interviewed MCKINLEY III and he stated to that he ordered the “gun parts” on the “Wish
app”. He also stated that he hid the Glock Auto Switches in the shed at his parent’s property
and hid the GPS tracker in the bumper of a semi-truck trailer in parking lot near waste
management in Wooster, OH. Officer Curtis relayed the information to HSI and the Glock
Auto Switches were recovered.

17. On March 21, 2019, HSI Cleveland executed a search warrant on MCKINLEY
III’s iPhone 8 Plus. The extraction report was reviewed and revealed a “iMessage Chat” on

3/1/2019 with “Joe Meenan” (330-201-1021). “Joe Meenan” stated “I think your poly 80 frame
Case: 5:19-cr-00329-BYP Doc #: 1-1 Filed: 04/24/19 7 of 11. PagelD #: 8

arrived...” and MCKINLEY III responded “...if your gonna be there tomorrow you can just
bring it and I'll grab it from you before 11”. An internet search was conducted on “poly 80
frame” returning results for several websites that sell 80% complete Glock polymer handgun
frames.

18. In another conversation on 3/9/2019 with “Jason School” (916-224-6089) they
were discussing attending a gun show. During the conversation MCKINLEY III stated “Yea
about to buy this glock or Glock frame idk which one yet”.

19. The review of MCKINLEY III’s iPhone 8 Plus’s search history revealed the
following searches made on that device, “glock selector switch come with tracking device”,

99 68.

“glock selector switch”, “wish app package with tracking device inside”, “tracking number”,

99 66 33 66) 99 66

“sd9 value”, “gun shops”, “gun show ohio”, “how to identify glock pre ban magazines”, “glock

29 Ge

9mm drum”, “glock 40 cal 31 round magazine”, “big daddy unlimited tan polymer 80”, “glock
steel selector switch”, “glock selector switch blueprints”, “glock auto”, “glock auto sear wish”,
“polymer 80” and “ar 15 lighting link”. An internet search was conducted on “ar 15 lightning
link” revealing that it is a device used to convert a semi-automatic AR-15 into a fully-automatic
AR-15.,

20. A-review of the web history on MCKINLEY’s iPhone 8 Plus revealed that the
following YouTube videos were visited, “Polymer80 Build: My Hiccups and Fixes”, “Glock
Frame Facts”, “Glock 19 assembly instructions”, “Full Disassembly and Reassembly of a Glock
Pistol”, “Glock 23 reassembly”, “Assembling the polymer 80 PF940C G 19 receiver”, “polymer
80 assembly instructions”, “POLYMER 80 Glock lets build it”, “Glock select fire installation

part 2”, “glock selector switch”, “Glock 19 Machine Pistol”, “Glock 17 Full Auto Close-up”,

“Can WE G17 Go Full Auto and How to Fix it Afterwards”, “wish app glock full auto”, “FIRST
Case: 5:19-cr-00329-BYP Doc #: 1-1 Filed: 04/24/19 8 of 11. PagelD #: 9

VIDEO! Reviewing purchases of firearm parts on the Wish App”, “Switch Fullauto for Glock
China product no work!”, “AMAZON Selling Illegal FULL AUTO gun parts Gun News Weekly
Episode # 237”, “Glock Full Auto Switch: Idea behind and installation process as well as
demonstration”, “wish app selling illegal items”, “Glock full auto selector switch”, “Glock 19
Machine Pistol”, and “glock select fire switch”.

21. The iPhone 8 Plus also had a voicemail dated 2/8/2019 from a gunsmith stating
“,,.[’m just calling to let you know your parts came in, so if you want to bring in your gun, and
the parts, uh, and get this squared away, thanks...”.

22. Areview of the iPhone 8 Plus images revealed a photo dated 3/12/2019 of a GPS
tracker being held with a Chevrolet steering wheel in the background, SN # ISOO0O1222760.
That is the serial number for the tracker that USPIS and HSI placed in the package with the
Glock Auto Switches for the controlled delivery to MCKINLEY III on 3/12/2019. The steering
wheel appears to be from the Chevrolet Malibu, OH License plate # HLW2077, that
MCKINLEY III was driving on 3/12/2019.

23. The iPhone 8 Plus contained several “Selfie” photos of Kenneth MCKINLEY III.
Also located were photos of Sig Sauer, Walther, and Smith & Wesson handguns dated 9/30/2018
and 10/12/2018.

24. A review of the videos in the iPhone 8 Plus revealed a 0:24 second video dated
3/3/2019 of an individual cycling a Glock 23 handgun with a Glock Auto Switch installed on the
back of the slide. The video is taken from a downward angle and the individual’s hands, legs and
feet are visible. It appears to be an aftermarket frame on the handgun. This video was taken with
an iPhone 8 Plus and the date of the video is after the first package of suspected Glock Auto

Switch from China was delivered to MCKINLEY III’s address on 2/19/2019. 2/19/2019 through
Case: 5:19-cr-00329-BYP Doc #: 1-1 Filed: 04/24/19 9 of 11. PagelD #: 10

3/2/2019 were also the dates that many of the above-mentioned YouTube videos were visited
that related to the Glock Auto Switch installation. On 3/4/2019 was when the YouTube videos
were visited relating to fixing a Polymer 80 frame and a slide sticking.

25. On 3/25/2019, ContextLogic, Inc. (“Wish”) provided HSI Cleveland with
information relating to orders made by Kenneth MCKINLEY III. The “Wish” information
showed that MCKINLEY III made an order for one (1) “...Super Realistic Fashion DIY
Ornament for Glock Product” on 2/4/2019. The tracking number (LW099275856C) matches that
tracking number provided by USPIS for the package delivered to MCKINLEY III on 2/19/2019.
MCKINLEY III made a second order for two (2) “...Super Realistic Fashion DIY Ornament for
Glock Product” on 2/20/2019. The tracking number (LW115404905CN) matches the tracking
number for the package that HSI and USPIS used for the controlled delivery of two (2) Glock
Auto Switches to 1854 Honeytown Rd., Wooster, OH on 3/12/2019. A search of www.wish.com
was conducted using the search term “DIY Ornament for Glock” and the results returned
included Glock Auto Switches. The images in the listing resemble the Glock Auto Switches that
were delivered to MCKINELY III on: 3/12/2019.

26. Also on 3/25/2019, the Massillon Cable Company provided HSI with information
relating to IP address 24.140.44.17, which checked on the package (LW115404905CN) on
2/24/2019 that contained the two (2) Glock Auto Switches destined to MCKINLEY III. The IP
address came back to Community Crossroads/One Eighty intervention and treatment services

located at 660 Callowhill St., Wooster, OH 44691. Wayne County Probation Officer Courtney
Case: 5:19-cr-00329-BYP Doc #: 1-1 Filed: 04/24/19 10 0f 11. PagelD #: 11

Curtis confirmed that MCKINLEY mT resided at that address from 9/18/2018 to 2/28/2019 for
rehabilitation.

27, On 3/27/2019, Sprint provided HSI with information relating to phone # ***-
**#*_8923. Account number 621377287 belongs to Kenneth MCKINLEY at 4712 Lattasburg
Rd., Wooster, OH 44691. According to CLEAR, an electronic database that has proven
reliable in previous investigations in determining the legitimacy of name, address, and
phone number information, the address 4712 Lattasburg Rd., Wooster, OH 44691 is
associated with Kenneth MCKINLEY III.

28. On 4/18/2019, Sprint provided information for three (3) IP addresses
(2600: 1:91da:e3e5:718a:92a4:b2cc:ce09, 2600:1:9183:baba:200e:1541:634:d3f8,

2600: 1:9¢20:9 laf:c1a2:571a:1df5:d17a) that checked on the package (LW115404905CN) that
contained the two (2) Glock Auto Switches on 2/24/2019 to 3/12/2019 destined to MCKINLEY
III. The IP addresses came back to account number 621377287 that belongs to Kenneth
MCKINLEY at 4712 Lattasburg Rd., Wooster, OH 44691.

CONCLUSION

29. _ Based on the foregoing, there is probable cause to believe that Kenneth
MCKINLEY III violated Title 18, United States Code, Section 545, importation of
merchandise into the United States contrary to law, Title 18, United States Code, Section
922(g), prohibited person in possession of ammunition, and Title 18, United States Code, Section

922(0), unlawful transfer or possession of a machinegun (collectively, the “Specified Federal
Case: 5:19-cr-00329-BYP Doc #: 1-1 Filed: 04/24/19 11 0f 11. PagelD #: 12

Offenses). Your affiant respectfully requests the Court issue an arrest warrant for Kenneth

MCKINLEY III.

LE EL

Benjamin Shaw

Special Agent

U.S. Department of Homeland Security
Homeland Security Investigations

Sworn to in my presence, this i of April, 2019
’ jp

The Honorable Kathleen B. Burke
United States Magistrate Judge

 
